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   16   By and through his conservator, Sherly
        Tolentino, et al.
   17
   18                         UNITED STATES DISTRICT COURT
   19
                            CENTRAL DISTRICT OF CALIFORNIA
   20
   21   Eddy Soriano, by and through his       ) Case No. 5:16-cv-155 BRO (SP)
   22   Conservator, Sherly Tolentino; Marites )
        de Guzman; ,                           ) PLAINTIFF’S FIRST AMENDED
   23                                          ) COMPLAINT FOR DAMAGES
   24                 Plaintiffs,              ) AND VIOLATIONS OF CIVIL
        v.                                     ) RIGHTS
   25
        COUNTY OF RIVERSIDE; CITY OF )
   26   MURRIETA; STANLEY SNIFF,               ) JURY TRIAL DEMANDED
   27
        Sheriff of Riverside County;           )
        WILLIAM DI YORIO, Undersheriff of )
   28   Riverside County; JULIO IBARRA,        )
                                                          1
                      PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   Senior Safety Coordinator for                      )
    2   Riverside County; JERRY                            )
        GUTIERREZ, Corrections Assistant                   )
    3   Sheriff; VIRGINIA BUSBY, Captain                   )
    4   of Robert Presley Detention Center;                )
        Murrieta Police Department OFFICER                 )
    5
        JEREMY MEADOWS; OFFICER H.                         )
    6   ADAMS; OFFICER ELLIOT;                             )
    7
        OFFICER TOMPKINS; OFFICER                          )
        MATTHEW MOZINGO; OFFICER                           )
    8   IRVING; TYLER SCOTT JACKSON;                       )
    9   and DOES 1-125,                                    )
                     Defendants.                           )
   10
   11
   12
                                   PRELIMINARY STATEMENT

   13         This action against the County of Riverside, City of Murrieta, and
   14
        individual agents and/or employees of the County of Riverside, arises due to the
   15
   16   Defendants’ improper placement of Plaintiff Eddy Soriano, a known mental health
   17
        patient in need of mental health treatment and care, into custody within the jail
   18
   19   system, and Defendants’ subsequent failure to protect Plaintiff Eddy Soriano from
   20   severe physical abuse inflicted upon him at the hand of his jail cellmate. As a
   21
        result of Defendants’ various actions and inactions, Plaintiff Eddy Soriano is now
   22
   23   in a permanent vegetative state, and will remain so for the duration of his lifetime.
   24
                                               JURISDICTION
   25
   26         1.     This action arises under Title 42 of the United States Code, Section
   27
        1983. Jurisdiction is conferred upon this Court by Title 28 of the United States
   28
        Code, Section 1331 and 1343. In addition,
                                               2 this Court has pendent and
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the state law claims
    2
        alleged in this complaint.
    3
    4                                                VENUE
    5
              2.     The unlawful acts and practices alleged herein occurred in the
    6
    7
        County of Riverside, State of California, within this judicial district. Therefore,

    8   venue lies in the United States District Court for the Central District of California.
    9
                                       CLAIMS REQUIREMENT
   10
   11         3.     Plaintiffs have complied with the requirements of California
   12
        Government Code section 900, et seq., where an action for state court claims is
   13
   14   filed against a public entity and its employees.
   15                        CONSERVATORSHIP ESTABLISHED
   16
              4.     On September 1, 2015, Letters of Conservatorship were issued by the
   17
   18   Superior Court of California for the County of Los Angeles, naming Sherly
   19
        Tolentino as conservator over the person and estate of Eddy Soriano.
   20
   21                                               PARTIES
   22
              5.     Plaintiff, Eddy Soriano, an individual, by and through his
   23
   24
        conservator, Sherly Tolentino (hereafter “Soriano”), is, and at all times mentioned

   25   herein was, a resident of the State of California.
   26
              6.     Plaintiff Marites de Guzman (hereafter “de Guzman”) is the wife of
   27
   28   Plaintiff Eddy Soriano and is, and at all times mentioned herein was, a resident of
                                                           3
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   the State of California.
    2
              7.     Defendant County of Riverside (hereinafter “County”) is a public
    3
    4   entity which is responsible for and administers the Robert Presley Detention
    5
        Center (hereinafter “RPDC”) through its agency, the Riverside County Sheriff’s
    6
    7
        Department (hereinafter “RCSD”). County promulgates policies and practices for

    8   the housing, custody, care, safekeeping and protection of inmates in the RPDC.
    9
        The County and Does 1 -25 constructed, owned, operated, repaired, maintained
   10
   11   and controlled the buildings in which the RPDC is located.
   12
              8.     Defendant City of Murrieta is a public entity city located in
   13
   14   California and is the employer of officers of the Murrieta Police Department.
   15         9.     Defendant Stanley Sniff (hereafter “Sniff”) is, and at all times herein
   16
        mentioned was, the Sheriff of Riverside County. As Sheriff of Riverside County,
   17
   18   Sniff has ultimate supervision and management responsibility over the five jails,
   19
        or correctional facilities in Riverside County, all managed by the Sheriff’s
   20
   21   Department Corrections Division. Sniff was elected as Sheriff in 2010 and took
   22
        office in January, 2011. Sheriff Sniff ran, operated, oversaw, administered,
   23
   24
        supervised and was otherwise responsible for the conduct of the RCSD at the

   25   RPDC. Defendant Stanley Sniff is sued both individually and in his official
   26
        capacity.
   27
   28         10.    Defendant William Di Yorio (hereafter “Di Yorio”) is, and at all
                                                           4
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   times herein mentioned was, the Undersheriff of Riverside County. Di Yorio ran,
    2
        operated, oversaw, administered, supervised and was otherwise responsible for the
    3
    4   conduct of the RCSD at the RPDC.
    5
              11.   Defendant Julio Ibarra (hereafter “Ibarra”) is, and at all times herein
    6
    7
        mentioned was, the Senior Safety Coordinator for the County of Riverside. Ibarra

    8   ran, operated, administered, supervised and was otherwise responsible for safety
    9
        policies and procedures for the Riverside County jail system, including the RPDC.
   10
   11         12.   Defendant Jerry Gutierrez (hereafter “Gutierrez”) is, and at all times
   12
        herein mentioned was, the Corrections Assistant Sheriff of Riverside County.
   13
   14   Gutierrez ran, operated, oversaw, administered, supervised and was otherwise
   15   responsible for the conduct of the RCSD at the RPDC.
   16
              13.   Defendant Virginia Busby (hereafter “Busby”) is, and at all times
   17
   18   herein mentioned was, Captain at the RPDC and ran, operated, oversaw,
   19
        administered, supervised and was otherwise responsible for the conduct of the
   20
   21   RCSD at the RPDC.
   22
              14.   Defendant Tyler Scott Jackson (hereafter “Jackson”) is, and at all
   23
   24
        times herein mentioned, was a resident of the State of California and an inmate at

   25   RPDC.
   26
              15.   Does 26-50 are County of Riverside officials who ran, oversaw,
   27
   28   administered, supervised and were otherwise responsible for the conduct of the
                                                           5
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   RPDC.
    2
              16.    Does 51 -100 are and were Sheriff’s deputies or other employees or
    3
    4   agents of the County of Riverside employed at the RPDC.
    5
              17.    Defendant Jeremy Meadows (hereafter “Meadows”) is, and at all
    6
    7
        times stated herein was, a police officer for the City of Murrieta, (Badge Number

    8   833), and a resident of California.
    9
              18.    Defendant Officer H. Adams (Badge Number 642) (hereafter
   10
   11   “Adams”) is, and at all times stated herein was, a police officer for the City of
   12
        Murrieta, and a resident of California.
   13
   14         19.    Defendant Corporal Elliot (Badge Number 664) (hereafter “Elliot”)
   15   is, and at all times stated herein was, a police officer for the City of Murrieta, and
   16
        a resident of California.
   17
   18         20.    Defendant OfficerTompkins (Badge Number 659) (hereafter
   19
        “Tompkins”) is, and at all times stated herein was, a police officer for the City of
   20
   21   Murrieta, and a resident of California.
   22
              21.    Defendant Matthew Mozingo (hereafter “Mozingo”) is, and at all
   23
   24
        times stated herein was, a police officer for the City of Murrieta (Badge Number

   25   441) and a resident of California.
   26
              22.    Defendant Officer Irving (Badge Number 894) (hereafter “Irving”) is,
   27
   28   and at all times stated herein was, a police officer for the City of Murrieta, and a
                                                           6
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   resident of California.
    2
              23.      Plaintiff is ignorant of the true names and capacities of Defendant
    3
    4   Does 1 – 125, inclusive, and therefore sue these defendants by such fictitious
    5
        names. Plaintiffs are informed and believe, and based thereon allege, that each
    6
    7
        defendant so named is responsible in some manner for the injuries and damages

    8   suffered by Plaintiffs. Plaintiffs will amend this complaint to state the true names
    9
        and capacities of defendants Does 1 – 125, inclusive, when they have been
   10
   11   ascertained.
   12
              24.      Does 101-125 are and were at the time of the facts giving rise to this
   13
   14   complaint, employees or agents of the City of Murrieta.
   15         25.      At all times mentioned herein, each named Doe Defendant 1 through
   16
        100, inclusive, was the agent or employee of Defendant County of Riverside and,
   17
   18   in doing the things alleged, was acting within the course and scope of such agency
   19
        or employment and with the actual or implied permission, consent, authorization
   20
   21   and approval of the County.
   22
              26.      At all times mentioned herein, each named Doe Defendant 101
   23
   24
        through 125, inclusive, was the agent or employee of Defendant City of Murrieta

   25   and, in doing the things alleged, was acting within the course and scope of such
   26
        agency or employment and with the actual or implied permission, consent,
   27
   28   authorization and approval of the City.
                                                             7
                         PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1         27.    Plaintiff Eddy Soriano is the father of five adult children named:
    2
        Gerlie S. Hall, Sheryl Soriano, Emily Soriano, Rhoderick Soriano, and Donald
    3
    4   Soriano. In the event that Plaintiff Eddy Soriano succumbs to his injuries and
    5
        passes away while this action is pending, Plaintiffs will amend the complaint to
    6
    7
        allege a cause of action for wrongful death brought on behalf of each of Plaintiff

    8   Eddy Soriano’s children and Plaintiff Marites de Guzman.
    9
                                       STATEMENT OF FACTS
   10
   11         28.    Plaintiff Eddy Soriano was a 64 year old man suffering from mental
   12
        health conditions, who had an extensive prior history of undiagnosed night terrors.
   13
   14   Prior to the incident, Mr. Soriano lived in Long Beach, California. On numerous
   15   prior occasions, during these night terror episodes, Mr. Soriano would roam the
   16
        Long Beach neighborhoods in a confused and disoriented state, and would be
   17
   18   picked up by Long Beach police department officers. According to standard
   19
        operating procedures of the Long Beach police department, the officers would
   20
   21   impose a Welfare and Institutions Code section 5150 involuntary psychiatric hold
   22
        on Mr. Soriano, so that Mr. Soriano could receive appropriate mental health
   23
   24
        attention and care, as opposed to arresting Mr. Soriano and placing him into

   25   custody with the general jail population.
   26
              29.    On February 8, 2015, Plaintiff Eddy Soriano suffered a night terror
   27
   28   episode while visiting friends in Murrieta, California. During the episode, Mr.
                                                           8
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   Soriano left his friend’s home and began wandering the streets of Murrieta in a
    2
        confused state. Witnesses stated that he was seeing things that weren’t there,
    3
    4   appeared confused, and believed that he was being chased by individuals who
    5
        were trying to hurt him. On the night in question, Mr. Soriano ran frantically
    6
    7
        through the neighborhood on Lido Drive in Murrieta, before ultimately climbing

    8   into, and attempting to hide himself in, an unlocked vehicle. Officers from the
    9
        City of Murrieta Police Department received a 911 call that a delusional man was
   10
   11   running around who suffered from dementia. Officers from the City of Murrieta
   12
        Police Department responded to the call and, despite knowing: (a) Plaintiff Eddy
   13
   14   Soriano’s prior mental health history and (b) having information from witnesses
   15   that Mr. Soriano suffered from dementia; Murrieta police officers did not impose
   16
        an involuntary psychiatric hold on Mr. Soriano and instead, placed him under
   17
   18   arrest and booked him into the Southwest Detention Center in Murrieta,
   19
        California.
   20
   21         30.     Mr. Soriano was thereafter transferred from the Murrieta Police
   22
        Department to Southwest Detention Center and ultimately, into the custody of
   23
   24
        County and RCSD at the RPDC. While incarcerated at RPDC, Mr. Soriano was

   25   transferred from the general inmate population into a mental health cell. The
   26
        mental health cell is one that is reserved for inmates exhibiting a mental health
   27
   28   condition. In the mental health cell in which Mr. Soriano was placed, there is an
                                                            9
                        PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   intercom button that an inmate is supposed to be able to use to communicate with
    2
        the deputies. The alarm portion of the audio component/intercom button in Mr.
    3
    4   Soriano’s cell had been disconnected since 2006 by order of Defendant Gutierrez.
    5
        All of the deputies at RPDC that had ever covered surveillance for the mental
    6
    7
        health cell in which Mr. Soriano was placed, were aware – since the time it was

    8   disconnected in 2006 - that the alarm portion of the audio component/intercom
    9
        system did not function, yet repeatedly signed off on safety check sheets that the
   10
   11   system was in good working order and condition. At no time did any deputy
   12
        inform Mr. Soriano that the alarm portion of the audio component/intercom button
   13
   14   in his cell did not function.
   15         31.    At any given moment, there are supposed to be three officers
   16
        responsible for surveilling the cells. These officers are known as “Pod 1”, “Pod
   17
   18   2” and “Pod runner” respectively. The Pod 1 officer must remain at his post
   19
        constantly and watches the video screens linked to the cells at all times. The cells,
   20
   21   including the one in which Mr. Soriano was housed, were equipped with video
   22
        surveillance and should have been equipped with a functioning alarm portion of
   23
   24
        the audio/intercom system. Each hour, a deputy of the RCSD is also required to

   25   perform a physical visual inspection of each cell, including the mental health cell
   26
        in which Mr. Soriano was housed.
   27
   28         32.    Prior to, and on the date of this incident, Defendant Jackson was a
                                                            10
                        PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   violent, mentally unstable inmate at RPDC in the custody of County and RCSD.
    2
        Defendant Jackson, aged 23, was some 41 years younger than Plaintiff Eddy
    3
    4   Soriano (aged 64), and was significantly larger than Eddy Soriano in stature and
    5
        build. At all times herein mentioned, County, RCSD and its employees knew or
    6
    7
        should have known that Jackson was a danger to other persons in custody at

    8   RPDC, and a danger to Mr. Soriano in particular. Due to Jackson’s prior violence,
    9
        there were orders that Jackson be housed alone prior to the time that he was
   10
   11   housed in the same cell with Eddy Soriano. RPDC officials disregarded the
   12
        substantial risk to Plaintiff Eddy Soriano’s health and safety when they housed
   13
   14   Eddy Soriano, who had never previously been incarcerated, with Defendant
   15   Jackson, a convicted felon.
   16
              33.    Prior to, and on the date of this incident, Defendants knew or should
   17
   18   have known that Mr. Soriano had a mental health condition and suffered from
   19
        night terrors that would cause Mr. Soriano to act out at times and behave in an
   20
   21   irrational manner.
   22
              34.    On February 18, 2015, while incarcerated at RPDC in Riverside,
   23
   24
        California, Plaintiff Eddy Soriano was placed in the mental health cell that lacked

   25   a functioning alarm component of the audio/intercom system, along with
   26
        Defendant Jackson. On February 18, 2015, while both men were in their shared
   27
   28   cell, Defendant Jackson severely beat Plaintiff Eddy Soriano for a period of
                                                           11
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   approximately 37 minutes. Defendant Jackson inflicted severe injuries to Plaintiff
    2
        Eddy Soriano, including, but not limited to, skull and facial fractures and severe
    3
    4   brain damage. During the attack, Plaintiff Eddy Soriano desperately attempted to
    5
        summon help from the deputies by pressing the intercom button at least 3 times,
    6
    7
        however, no deputies responded to his call. During the attack, the “Pod 1” officer

    8   on duty should have received video images of Plaintiff Eddy Soriano being
    9
        attacked in his cell, and would have received video images of Plaintiff Eddy
   10
   11   Soriano being attacked in his cell, had the Pod 1 officer been performing his
   12
        assigned duties. Yet, for 37 minutes, no officer responded to Mr. Soriano’s aid.
   13
   14   During the 37 minute attack, RCSD deputies were required to conduct regularly
   15   scheduled, physical, walk-through, visual inspections of Mr. Soriano’s cell,
   16
        however, either no physical, visual inspection was ever performed as scheduled,
   17
   18   or the officer performing the inspection ignored Mr. Soriano’s pleas for help. As
   19
        result of the severe beating Mr. Soriano received while in the care and custody of
   20
   21   the County of Riverside, Mr. Soriano is now in permanent vegetative state and
   22
        requires round-the-clock medical care and attention and will require such care for
   23
   24
        the remainder of his life.

   25                                             DAMAGES
   26
              35.    As a proximate result of Defendants’ conduct, Plaintiff Eddy Soriano
   27
   28   suffered permanent traumatic brain injury resulting in pain and suffering, past and
                                                           12
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   future medical expenses, past and future wage loss, and past and future lost
    2
        earning capacity.
    3
    4          36.    Plaintiffs have found it necessary to engage the services of counsel to
    5
        vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
    6
    7
        all attorneys’ fees and litigation costs incurred in pursuing this action for violation

    8   of civil rights.
    9
                                          FIRST CAUSE OF ACTION
   10
   11      (Violation of 42 U.S.C. § 1983 - brought by Soriano Against Defendants
   12
           County; Stanley Sniff; William Di Yorio; Julio Ibarra; Jerry Gutierrez;
   13
   14                                 Virginia Busby; and Does 26 – 50)
   15          37.    Plaintiff Eddy Soriano realleges and incorporates by reference
   16
        paragraphs 1-36 of this complaint.
   17
   18          38.    Defendants’ above alleged actions and failures to act resulted from
   19
        policies, customs and practices of Defendants County; Sniff, Di Yorio; Ibarra;
   20
   21   Gutierrez; Busby and Does 26-50, including, but not limited to, the following:
   22
                      a. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
   23
   24
                            50, caused and permitted the RPDC to be overcrowded. The

   25                       overcrowding contributed to causing inmate on inmate violence.
   26
                      b. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
   27
   28                       50, required violent and/or mentally unstable inmates to be housed
                                                               13
                           PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1                 in the same cell as other inmates.
    2
                   c. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
    3
    4                 50, failed to assign sufficient Sheriff’s deputies to the RPDC in
    5
                      order to provide adequate monitoring and supervision of the
    6
    7
                      inmates.

    8              d. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
    9
                      50, failed to properly train the Sheriff’s deputies assigned to the
   10
   11                 RPDC so that the deputies did not have sufficient knowledge or
   12
                      skills to adequately monitor and supervise the inmates.
   13
   14              e. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
   15                 50, failed to provide jail buildings with functioning alarm
   16
                      components in the audio/intercom systems so that Sheriff’s
   17
   18                 deputies could respond promptly and communicate with inmates
   19
                      that needed assistance.
   20
   21              f. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
   22
                      50, failed to properly use the video surveillance systems that were
   23
   24
                      available to them for supervising the cells while on duty at RPDC.

   25              g. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
   26
                      50, ignored video surveillance systems that were available to them
   27
   28                 for supervising cells while on duty at RPDC.
                                                         14
                     PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1                h. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-
    2
                        50, failed to follow standard operating procedures regarding
    3
    4                   performing physical visual inspections of the cells at RPDC.
    5
                     i. County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and Does 26-50
    6
    7
                        failed to perform their job duties in monitoring the inmates,

    8                   supervising the inmates, and inspecting and maintaining the
    9
                        inmate audio and visual monitoring systems.
   10
   11         39.    In 2013, prior to Plaintiff’s brutal attack, at least three occurrences of
   12
        inmate-on-inmate violence resulting in death or severe injuries at the County of
   13
   14   Riverside’s Southwest Detention Center facility occurred. The three occurrences
   15   included (a) the severe beating of Vernon Vasquez on January 10, 2013; (b) the
   16
        death of Julio Negrete on May 9, 2013 and (c) the severe beating of William Ray
   17
   18   Espinoza on November 14, 2013. All three occurrences stemmed from County’s
   19
        policy, practice and custom of overcrowding inmates, improperly classifying
   20
   21   inmates, housing violent and mentally unstable inmates together in cells, failing to
   22
        follow standard operating procedures regarding performing visual inspections of
   23
   24
        inmates and inadequately monitoring and maintaining audio and visual monitoring

   25   systems.
   26
              40.    At the time that Plaintiff Eddy Soriano was attacked, County of
   27
   28   Riverside jail facilities ranked second in California for in-custody deaths
                                                           15
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   according to Department of Justice statistics and since Plaintiff Eddy Soriano’s
    2
        attack, in-custody deaths in the County of Riverside have continued to rise.
    3
    4         41.    Since Plaintiff’s brutal attack, inmate Robert Anthony Hearn died
    5
        from an attack by his cellmate on March 17, 2015 at County’s Larry D. Smith
    6
    7
        Correctional Facility.

    8         42.    Based on the frequency, characteristics and locations of the foregoing
    9
        alleged occurrences of severe inmate-on-inmate violence throughout County’s
   10
   11   various jail facilities, Plaintiff alleges that County’s actions and inactions related
   12
        to overcrowding inmates, improperly classifying inmates, housing violent and
   13
   14   mentally unstable inmates together in cells, failing to follow standard operating
   15   procedures regarding performing visual inspections of inmates and inadequately
   16
        monitoring and maintaining audio and visual monitoring systems, are widespread
   17
   18   in usage and constitute policies, practices and customs of County.
   19
              43.    In doing the acts complained of above, County; Sniff; Di Yorio;
   20
   21   Ibarra; Gutierrez; Busby and Does 26-50, acted under color of State law to deprive
   22
        Plaintiff Eddy Soriano of certain constitutionally protected rights, including, but
   23
   24
        not limited to, the right not to be deprived of life or liberty without due process of

   25   law, as guaranteed by the Fifth and Fourteenth Amendments to the United States
   26
        Constitution.
   27
   28         44.    In acting and failing to act as hereinabove alleged, Defendants, and
                                                            16
                        PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   each of them, were deliberately indifferent to the substantial risk that Jackson
    2
        would assault and severely injure Plaintiff Eddy Soriano.
    3
    4          45.    As a proximate result of Defendants’ wrongful conduct, Plaintiff
    5
        Eddy Soriano suffered the injuries and damages as set forth.
    6
    7
               46.   In acting as hereinabove alleged, the conduct of Defendants Sniff; Di

    8   Yorio; Ibarra; Gutierrez; Busby and Does 26-50, was performed knowingly,
    9
        intentionally, maliciously, amounting to despicable conduct by reason of which
   10
   11   Plaintiffs are entitled to an award of punitive damages in a just and reasonable
   12
        sum.
   13
   14                                   SECOND CAUSE OF ACTION
   15                (42 U.S.C. §1983 – Brought by Soriano Against Does 51-100)
   16
               47.   Plaintiff Eddy Soriano realleges and incorporates by reference
   17
   18   paragraphs 1 through 46 of this Complaint.
   19
               48.   In doing the acts complained of, Defendants Does 51-100 acted under
   20
   21   the color of state law to deprive the Plaintiff Eddy Soriano of certain
   22
        constitutionally protected rights including, but not limited to, the right not to be
   23
   24
        deprived of life or liberty without due process of law, as guaranteed by the Fifth

   25   and Fourteenth Amendments to the United States Constitution.
   26
               49.    In acting and failing to act as hereinabove alleged, Defendants Does
   27
   28   51 – 100, and each of them, were deliberately indifferent to the substantial risk
                                                           17
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   that Jackson would assault and severely injure Plaintiff Eddy Soriano.
    2
              50.    As a proximate result of defendants’ wrongful conduct, Plaintiff
    3
    4   Eddy Soriano suffered injuries and damages as set forth.
    5
    6
    7                                    THIRD CAUSE OF ACTION

    8         (42 U.S.C. § 1983 – Brought by Soriano Against Sniff, Di Yorio;
    9
              Ibarra; Gutierrez; Busby and Does 26- 50)
   10
   11         51.    Plaintiff Eddy Soriano realleges and incorporates by reference
   12
        paragraphs 1 – 50 of this Complaint.
   13
   14         52.    Based on other occurrences of severe inmate-on-inmate violence at
   15   several County jail facilities, including the severe beatings of Vernon Vasquez and
   16
        William Ray Espinoza and the death of Julio Negrete, County; Sniff; Di Yorio;
   17
   18   Ibarra; Gutierrez; Busby and Does 26- 50, by and through their supervisory
   19
        officials and employees, have been given notice on repeated occasions of a pattern
   20
   21   of ongoing constitutional violations and practices by Defendants 51-100 and other
   22
        agents and employees of the County, consisting in part of indifference to the
   23
   24
        safety of inmates in jail as well as deliberate indifference to the serious medical

   25   needs of its prisoners. Despite said notice, defendants County; Sniff; Di Yorio;
   26
        Ibarra; Gutierrez; Busby and Does 26-50 have demonstrated deliberate
   27
   28   indifference to this pattern and practice of constitutional violations by failing to
                                                           18
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   take necessary, appropriate or adequate measures to prevent the continued
    2
        perpetuation of said pattern of conduct. This lack of adequate supervisorial
    3
    4   response by Defendants County; Sniff; Di Yorio; Ibarra; Gutierrez; Busby and
    5
        Does 26-50 demonstrate the existence of an informal custom or policy which
    6
    7
        tolerates and promotes the continuing improper placement of inmates and the

    8   violation of civil rights of persons incarcerated in the RPDC.
    9
              53.    The acts of Defendants 51-100 alleged herein are the direct and
   10
   11   proximate result of the deliberate indifference of Defendants County; Sniff; Di
   12
        Yorio; Ibarra; Gutierrez; Busby and Does 26-50 and their supervisory officials
   13
   14   and employees to violations of Constitutional rights of persons incarcerated in the
   15   RPDC by Does 51-100 and other agents and employees of the County at RPCD.
   16
        Plaintiff Eddy Soriano’s injuries and damages were foreseeable and a proximate
   17
   18   result of the deliberate indifference of the County; Sniff; Di Yorio; Ibarra;
   19
        Gutierrez; Busby and Does 26-50 to the pattern, practices, customs and policies
   20
   21   described above.
   22
              54.    In acting as hereinabove alleged, the conduct of Sniff; Di Yorio;
   23
   24
        Ibarra; Gutierrez; Busby and Does 26-50 was performed knowingly, maliciously,

   25   amounting to despicable conduct by reason of which plaintiffs are entitled to an
   26
        award of punitive damages in a just and reasonable sum.
   27
   28
                                                           19
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1                                   FOURTH CAUSE OF ACTION
    2
              (State Law Claim for Negligence – Brought by Soriano and de Guzman
    3
    4         Against Defendants County; and Does 51-100)
    5
              55.   Plaintiff Eddy Soriano and Plaintiff de Guzman reallege and
    6
    7
        incorporate by reference paragraphs 1 - 54 of this complaint.

    8         56.   At all times mentioned herein, County and Does 51-100 were subject
    9
        to a duty of due care to monitor and supervise inmates of the RPDC. County and
   10
   11   Does 51-100 also had a duty to take all reasonably necessary steps to ensure
   12
        Plaintiff Eddy Soriano’s personal security while he was an inmate at RPDC.
   13
   14         57.   Under California Government Code Sections 845.6; 820(a) and
   15   Section 815.2, Defendant County and Does 51-100 had a duty to take reasonable
   16
        action to summon medical care when Does 51-100 knew, or had reason to know
   17
   18   that Plaintiff Eddy Soriano required immediate medical care.
   19
              58.   Under California Government Code Sections 856, 820(a) and Section
   20
   21   815.2, Defendant County and Does 51-100 had a duty to use due care in carrying
   22
        out a determination to confine Plaintiff Eddy Soriano and the terms and conditions
   23
   24
        of Eddy Soriano’s confinement while at RPDC.

   25         59.   On the day of the incident, County and Does 51-100 negligently
   26
        failed to exercise due care in monitoring and supervising Plaintiff Eddy Soriano
   27
   28   and Defendant Tyler Scott Jackson by: failing to properly observe and/or
                                                           20
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   supervise Soriano and Jackson in their cell; by failing to respond to calls for help
    2
        from Plaintiff Eddy Soriano; by failing to make physical inspections and visual
    3
    4   inspections of the cell in which Soriano and Jackson were housed at reasonable,
    5
        timely intervals; by failing to follow operating procedures and policies requiring
    6
    7
        periodic visual inspections of the cells at RPDC; by failing to properly classify

    8   Soriano and Jackson such that both men were improperly placed in the same cell;
    9
        by failing to attend to the cell in which Soriano and Jackson were housed; by not
   10
   11   paying attention to the cell in which Soriano and Jackson were housed; and by
   12
        failing to summon for, and administer, prompt and adequate medical attention to
   13
   14   Soriano which further contributed to the severity of his injuries.
   15         60.    Plaintiff Eddy Soriano and Plaintiff Marites de Guzman allege on
   16
        information and belief that at the time of the incident, Does 51-100 were agents
   17
   18   and/or employees of Defendant County and in doing the acts and omissions
   19
        alleged herein, were acting within the course and scope of their employment with
   20
   21   Defendant County. Pursuant to Government Code section 815.2(a), Defendant
   22
        County is therefore vicariously liable for the acts and omissions of its employees
   23
   24
        as alleged herein.

   25         61.    At all times relevant herein, the acts and omissions of Defendant
   26
        County’s employees were a substantial factor in causing Plaintiff Eddy Soriano’s
   27
   28   harm and such acts and omissions were carried out by Defendant County’s
                                                           21
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   employees in the course and scope of their employment with Defendant such that
    2
        Defendant County is vicariously liable for Plaintiff Eddy Soriano’s injuries and
    3
    4   damages.
    5
               62.   As a proximate result of Defendants’ wrongful conduct, Plaintiff
    6
    7
        Eddy Soriano suffered injuries and damages as set forth herein.

    8          63.   At all relevant times herein, Plaintiff Marites de Guzman and
    9
        Plaintiff Eddy Soriano were wife and husband.
   10
   11          64.   As a proximate result of Defendants’ wrongful conduct, Plaintiff
   12
        Marites de Guzman suffered a loss of consortium due to Plaintiff Eddy Soriano’s
   13
   14   injuries.
   15                                     FIFTH CAUSE OF ACTION
   16
                (Dangerous Condition of Public Property Brought by Soriano and de
   17
   18                 Guzman against County, DOES 1-25 and DOES 51-100)
   19
               65.   Plaintiff Eddy Soriano and Plaintiff Marites de Guzman reallege and
   20
   21   incorporate by reference paragraphs 1 - 64 of this complaint.
   22
               66.   The buildings constituting the RPDC were constructed, owned,
   23
   24
        operated, maintained, repaired and controlled by County, and private contractors

   25   Does 1-25 and County employees Does 51-100.
   26
               67.   At the time of the incident, the buildings constituting the RPDC
   27
   28   generally, and the cell in which Plaintiff Eddy Soriano was housed in particular,
                                                           22
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   were in a dangerous condition, as defined in Government Code section 830 in that
    2
        their condition created a substantial risk of injury when used with due care in a
    3
    4   manner in which it was reasonably foreseeable that they would be used. The cell
    5
        that housed Plaintiff Eddy Soriano, did not have a functioning alarm component
    6
    7
        of the audio/intercom system such that inmates housed in the cell were unable to

    8   summon help as needed and those deputies that were supposed to be monitoring
    9
        the cells, were unable to adequately monitor the cell due to the lack of an alarm
   10
   11   portion of the audio/intercom system. Not having a functioning audio/intercom
   12
        system, kept deputies from adequately monitoring the cells because it would fail
   13
   14   to alert them, as it did in this case, when they were improperly away from their
   15   posts.
   16
                 68.   Plaintiffs Eddy Soriano and Plaintiff Marites de Guzman are
   17
   18   informed and believe and based thereon allege, that Defendant County, Does 1 to
   19
        25 and Does 51-100, including Defendant Jerry Gutierrez, knew or should have
   20
   21   known that the alarm portion of the audio/intercom system was not functioning in
   22
        Eddy Soriano’s cell since Defendant Jerry Gutierrez ordered the audio
   23
   24
        component/intercom button in Mr. Soriano’s cell to be disconnected in 2006.

   25   Defendant County, by and through its agents and employees, including Defendant
   26
        Gutierrez, repeatedly ignored notices, studies, and recommendations prior to the
   27
   28   date that Eddy Soriano was brutally attacked that the alarm portion of the
                                                             23
                         PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   audio/intercom system should be reconnected. All of the deputies at RPDC that
    2
        had ever covered surveillance for the mental health cell in which Mr. Soriano was
    3
    4   placed, were aware – since the time it was disconnected in 2006 - that the alarm
    5
        portion of the audio component/intercom system did not function, yet repeatedly
    6
    7
        signed off on safety check sheets that the system was in good working order and

    8   condition.
    9
              69.    Despite knowledge by County, Does 1 – 25 and Does 51-100, that
   10
   11   the alarm portion of the audio/intercom system in the cell was not functioning,
   12
        County, Does 1-25 and Does 51-100 failed to warn Plaintiff Soriano that the alarm
   13
   14   portion of the audio/intercom system did not work, thereby exposing Plaintiff
   15   Soriano to a serious risk of harm.
   16
              70.    The dangerous condition and the negligent failure to warn thereof, as
   17
   18   alleged hereinabove, were a proximate cause of the injuries to Plaintiff Eddy
   19
        Soriano and Plaintiff Marites de Guzman stated herein by allowing a
   20
   21   confrontation between Jackson and Plaintiff Eddy Soriano to occur while they
   22
        were both housed in their cell without being heard by the Sheriff’s deputies
   23
   24
        responsible for monitoring the cell and supervising the conduct and safety of

   25   Jackson and Soriano in the RPDC. The dangerous condition and negligent failure
   26
        to warn thereof created a reasonably foreseeable risk of the kind of injuries which
   27
   28   were incurred by Plaintiff Eddy Soriano and Plaintiff Marites de Guzman. The
                                                           24
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   dangerous condition and failure to warn was created by the negligent or wrongful
    2
        acts or omissions of County, Does 1 to 25 and Does 51-100. County, Does 1 to
    3
    4   25 and/or Does 51-100 had actual or constructive notice of the dangerous
    5
        condition under Government Code section 835.2 a sufficient time prior to the
    6
    7
        injury to have taken measures to protect against the dangerous conditions.

    8         71.    Plaintiff Eddy Soriano and Plaintiff Marites de Guzman allege on
    9
        information and belief that at the time of the incident, Does 1-25 and Does 51-100
   10
   11   were agents and/or employees of Defendant County and in doing the acts and
   12
        omissions alleged herein, were acting within the course and scope of their
   13
   14   employment with Defendant County. Pursuant to Government Code section
   15   815.2(a), Defendant County is therefore vicariously liable for the acts and
   16
        omissions of its employees as alleged herein.
   17
   18         72.    At all times relevant herein, the acts and omissions of Defendant
   19
        County and its agents/employees were a substantial factor in causing Plaintiff
   20
   21   Eddy Soriano’s harm and such acts and omissions were carried out by Defendant
   22
        County’s agents/employees in the course and scope of their employment with
   23
   24
        Defendant such that Defendant County is vicariously liable for Plaintiff Eddy

   25   Soriano’s injuries and damages.
   26
              73.    At all relevant times herein, Plaintiff Marites de Guzman and
   27
   28   Plaintiff Eddy Soriano were wife and husband.
                                                           25
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1          74.   As a proximate result of Defendants’ wrongful conduct, Plaintiff
    2
        Marites de Guzman suffered a loss of consortium due to Eddy Soriano’s injuries.
    3
    4                                     SIXTH CAUSE OF ACTION
    5
                              (42 U.S.C. § 1983 Brought by Soriano Against
    6
    7                               City of Murrieta for Failure to Train)

    8          75.   Plaintiff Eddy Soriano realleges and incorporates by reference
    9
        paragraphs 1 - 74 of this complaint.
   10
   11          76.   Plaintiff Eddy Soriano was deprived of his civil rights as a result of
   12
        Defendant City of Murrieta’s (hereafter, “City”) failure to train its officers and
   13
   14   employees in the appropriate procedure for detaining individuals with mental
   15   illness.
   16
               77.   Defendant City’s training program for officers of the Murrieta Police
   17
   18   Department was inadequate in that it did not include methods by which officers
   19
        could identify, assess and classify individuals that are suffering from mental
   20
   21   illness at the moment that an individual is being detained by City police officers
   22
        for alleged criminal conduct. Specifically, Defendant City’s training program was
   23
   24
        inadequate to teach officers when a particular individual should be processed

   25   according to Welfare and Institutions Code 5150 as opposed to being booked and
   26
        processed as a criminal detainee through the Murrieta Police Department.
   27
   28          78.   Defendant City knew, because of a pattern of similar violations, or
                                                           26
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   should have known, that the inadequate training program was likely to result in a
    2
        deprivation civil rights, including, among others: the right to not be deprived of
    3
    4   life or liberty without due process of law, as guaranteed by the Fifth and
    5
        Fourteenth Amendments to the United States Constitution and the right to be
    6
    7
        secure from unreasonable searches and seizures under the Fourth Amendment to

    8   the United States Constitution.
    9
              79.    On February 8, 2015 Defendant Meadows and Defendant Adams
   10
   11   responded to a dispatch concerning Plaintiff Eddy Soriano for purposes of
   12
        conducting a “welfare check”. Defendants Elliot, Tompkins, Mozingo and Irving
   13
   14   then also responded to the call. Defendant City’s officers were further advised
   15   through dispatch prior to interacting with Plaintiff Eddy Soriano on February 8,
   16
        2015, that he had dementia and appeared confused. At the time that Defendants
   17
   18   Meadows, Adams, Elliot, Tompkins, Mozingo and Irving first approached
   19
        Plaintiff Eddy Soriano, they knew or should have known that he had no prior
   20
   21   criminal record and that he suffered from a mental condition.
   22
              80.    The conduct of the six officers at the time that Plaintiff Eddy Soriano
   23
   24
        was brought into custody by Murrieta Police Department indicates that City’s

   25   failure to adequately train officers in appropriately handling welfare checks on
   26
        mentally disabled adults is a widespread policy, practice or custom within
   27
   28   Defendant City’s police department given the following facts: (a) all six officers
                                                           27
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   responding to the dispatch failed to process Plaintiff Eddy Soriano pursuant to
    2
        Welfare and Institutions Code Section 5150, despite knowing that Plaintiff Eddy
    3
    4   Soriano was (a) mentally disabled (b) had no criminal record and (c) had a prior
    5
        history of numerous 5150 encounters through the Long Beach Police Department.
    6
    7
              81.    Defendant City, by and through its agents and employees, knew that

    8   placing a mentally disabled individual who had no history of violence into custody
    9
        with the general inmate population would create a substantial risk of serious harm
   10
   11   to Plaintiff Soriano’s health and safety. Despite this, Defendant City, by and
   12
        through the actions of its officers Meadows, Adams, Elliot, Tompkins, Mozingo
   13
   14   and Irving, acted with deliberate indifference to Plaintiff Soriano’s health, safety,
   15   and personal security when they processed Plaintiff Soriano as a regular inmate
   16
        instead of following Welfare and Institutions Code 5150 procedures.
   17
   18         82.    But for Defendant City’s actions by and through officers of the
   19
        Murrieta Police Department, Plaintiff Eddy Soriano would not have been in custody
   20
   21   and would not have been placed in a cell with Defendant Jackson.
   22
              83.    As a result of Defendant City’s conduct in failing to properly train its
   23
   24
        police officers, City and Defendants Meadows, Adams, Elliot, Tompkins,

   25   Mozingo and Irving violated Plaintiff Eddy Soriano’s right not to be deprived of
   26
        life and liberty without due process of law under the Fifth and Fourteenth
   27
   28   Amendments to the United States Constitution and his right to be secure from
                                                           28
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   unreasonable searches and seizures under the Fourth Amendment when they took
    2
        Plaintiff Eddy Soriano into custody and processed him as a regular inmate, rather
    3
    4   than processing him under Welfare and Institutions Code Section 5150.
    5
              84.    As a proximate cause of the conduct of Defendant City and
    6
    7
        Defendants Meadows, Adams, Elliot, Tompkins, Mozingo and Irving, Plaintiff

    8   Eddy Soriano was harmed and suffered the injuries and damages alleged herein.
    9
                                       SEVENTH CAUSE OF ACTION
   10
   11         (42 USC 1983 Claim by Plaintiff Eddy Soriano Against Defendants
   12
              Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and DOES 101-
   13
   14         125)
   15         85.    Plaintiff Eddy Soriano realleges and incorporates by reference
   16
        paragraphs 1 - 84 of this complaint.
   17
   18         86.    On February 8, 2015 Defendant Meadows and Defendant Adams
   19
        responded to a dispatch concerning Plaintiff Eddy Soriano for purposes of
   20
   21   conducting a “welfare check”. Defendants Elliot, Tompkins, Mozingo and Irving
   22
        then also responded to the call. Defendant City’s officers were further advised
   23
   24
        through dispatch prior to interacting with Plaintiff Eddy Soriano on February 8,

   25   2015, that he had dementia and appeared confused. At the time that Defendants
   26
        Meadows, Adams, Elliot, Tompkins, Mozingo and Irving first approached
   27
   28   Plaintiff Eddy Soriano, they knew or should have known that he had no prior
                                                           29
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   criminal record and that he suffered from a mental condition.
    2
              87.    Defendants Meadows, Adams, Elliot, Tompkins, Mozingo and Irving
    3
    4   and Does 101-125, knew that placing a mentally disabled individual who had no
    5
        history of violence into custody with the general inmate population would create a
    6
    7
        substantial risk of serious harm to Plaintiff Soriano’s health and safety. Despite this

    8   knowledge, Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and
    9
        Does 101-125 acted with deliberate indifference to Plaintiff Soriano’s health,
   10
   11   safety, and personal security when they processed Plaintiff Soriano as a regular
   12
        inmate instead of following Welfare and Institutions Code 5150 procedures.
   13
   14         88.    After arresting Plaintiff Eddy Soriano, Defendants Meadows, Adams,
   15   Elliot, Tompkins, Mozingo, Irving and Does 101-125, failed to adequately
   16
        investigate, evaluate or analyze Plaintiff Eddy Soriano’s mental health condition.
   17
   18         89.    In doing the acts complained of, Defendants Meadows, Adams,
   19
        Elliot, Tompkins, Mozingo, Irving and Does 101-125 acted under the color of
   20
   21   state law to deprive the Plaintiff Eddy Soriano of certain constitutionally protected
   22
        rights including, but not limited to, the right not to be deprived of life or liberty
   23
   24
        without due process of law, as guaranteed by the Fifth and Fourteenth

   25   Amendments to the United States Constitution and the right to be secure from
   26
        unreasonable searches and seizures guaranteed by the Fourth Amendment to the
   27
   28   United States Constitution.
                                                            30
                        PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1         90.     In acting and failing to act as hereinabove alleged, Defendants
    2
        Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125, and
    3
    4   each of them, were deliberately indifferent to the substantial risk that Plaintiff
    5
        Eddy Soriano would be injured when confined with other prisoners in the general
    6
    7
        prison population.

    8         91.    As a proximate result of defendants’ wrongful conduct, Plaintiff
    9
        Eddy Soriano suffered injuries and damages as set forth when he was brutally
   10
   11   attacked by Defendant Jackson.
   12
                                    EIGHTH CAUSE OF ACTION
   13
   14          (State Law Claim for Negligence Brought by Plaintiffs Soriano and de
   15         Guzman against Defendant City of Murrieta and Defendants Meadows,
   16
                    Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125)
   17
   18         92.    Plaintiff Eddy Soriano and Plaintiff de Guzman reallege and
   19
        incorporate by reference paragraphs 1 - 91 of this complaint.
   20
   21         93.    At all times stated herein, Defendant City, and Defendants Meadows,
   22
        Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125 owed a duty of care
   23
   24
        to Eddy Soriano to properly evaluate, assess and classify Eddy Soriano as a

   25   detainee of the Murrieta Police Department.
   26
              94.    At all times relevant herein, the City and Defendants Meadows,
   27
   28   Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-125 knew, or should
                                                           31
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    1   have known, that Eddy Soriano was suffering from a mental disorder such that it
    2
        would be inappropriate to classify him as a criminal detainee, and instead, Eddy
    3
    4   Soriano should have been classified as a Welfare and Institutions Code 5150
    5
        detainee such that appropriate mental health care and treatment would be provided
    6
    7
        to him.

    8         95.    Under California Government Code Sections 845.6; 820(a) and
    9
        Section 815.2, Defendant City and Defendants Meadows, Adams, Elliot,
   10
   11   Tompkins, Mozingo, Irving and Does 101-125 had a duty to take reasonable
   12
        action to summon medical care when Defendants Meadows, Adams, Elliot,
   13
   14   Tompkins, Mozingo and Irving knew, or had reason to know that Plaintiff Eddy
   15   Soriano required immediate medical care in the form of mental health treatment.
   16
              96.    Under California Government Code Sections 856, 820(a) and Section
   17
   18   815.2, Defendant City and Defendants Meadows, Adams, Elliot, Tompkins,
   19
        Mozingo, Irving and Does 101-125 had a duty to use due care in carrying out a
   20
   21   determination to confine Plaintiff Eddy Soriano and the terms and conditions of
   22
        Eddy Soriano’s confinement.
   23
   24
              97.    While acting in the course and scope of their employment with City,

   25   Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-
   26
        125 failed to use due care in carrying out the determination to confine Plaintiff
   27
   28   Eddy Soriano and in carrying out the terms and conditions of his confinement by
                                                           32
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    1   failing to adequately investigate, evaluate or analyze Plaintiff Eddy Soriano’s
    2
        mental health condition.
    3
    4         98.    City, and Defendants Meadows, Adams, Elliot, Tompkins, Mozingo,
    5
        Irving and Does 101-125 breached their duties of care under the foregoing statutes
    6
    7
        by failing to properly evaluate and assess his mental health upon detaining him;

    8   failing to classify him appropriately based on his mental health disorder; and
    9
        failing to take reasonable action to summon appropriate mental health care for
   10
   11   Plaintiff Eddy Soriano which caused him to be detained as a prisoner. City, and
   12
        Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does 101-
   13
   14   125 failed to communicate to subsequent entities to whom the care and custody of
   15   Eddy Soriano had been transferred that Eddy Soriano suffered from a mental
   16
        health disorder and failed to warn subsequent entities to whom the care and
   17
   18   custody of Eddy Soriano had been transferred of behavior Eddy Soriano
   19
        demonstrated while in the care and custody of the Murrieta Police Department
   20
   21   consistent with a mental health disorder and Eddy Soriano’s need for appropriate
   22
        mental health care and treatment.
   23
   24
              99.    As a direct and proximate result of the conduct of Defendant City,

   25   and Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does
   26
        101-125, who were acting in the course and scope of their employment with City,
   27
   28   Eddy Soriano was transferred into the custody of the County of Riverside,
                                                           33
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    1   Riverside County Sheriff’s Department and RPDC with an improper classification
    2
        such that Eddy Soriano was then improperly housed with cellmate Jackson and
    3
    4   Soriano was not given appropriate mental health care and treatment. But for the
    5
        conduct of Defendant City, by and through officers of the Murrieta Police
    6
    7
        Department, Plaintiff Eddy Soriano would not have been placed in the same cell

    8   with Defendant Jackson. On February 18, 2015, during the period of Eddy
    9
        Soriano’s confinement with Jackson at RPDC, Eddy Soriano was brutally beaten
   10
   11   by his cellmate Jackson for a period of approximately 37 minutes such that Eddy
   12
        Soriano sustained severe injuries and is now in a permanent vegetative state for
   13
   14   the remainder of his life.
   15         100. Based on Defendant City and Defendant Meadows, Adams, Elliot,
   16
        Tompkins, Mozingo, Irving and Does 101-125’s aforementioned conduct,
   17
   18   Plaintiff Eddy Soriano suffered the damages and injuries as set forth herein.
   19
              101. Plaintiff Eddy Soriano and Plaintiff Marites de Guzman allege on
   20
   21   information and belief that at the time of the incident, in doing the acts and
   22
        omissions alleged herein, Defendants Meadows, Adams, Elliot, Tompkins,
   23
   24
        Mozingo, Irving and Does 101-125 were agents and/or employees of Defendant

   25   City and were acting within the course and scope of their employment with
   26
        Defendant City. Pursuant to Government Code section 815.2(a), and section
   27
   28   845.5, Defendant City is therefore vicariously liable for the acts and omissions of
                                                           34
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   its employees as alleged herein.
    2
               102. At all times relevant herein, the acts and omissions of Defendant City
    3
    4   and Defendants Meadows, Adams, Elliot, Tompkins, Mozingo, Irving and Does
    5
        101-125 were a substantial factor in causing Plaintiff Eddy Soriano’s harm and
    6
    7
        injuries alleged herein.

    8          103.   At all relevant times herein, Plaintiff Marites de Guzman and
    9
        Plaintiff Eddy Soriano were wife and husband.
   10
   11          104. As a proximate result of City and Defendants Meadows, Adams,
   12
        Elliot, Tompkins, Mozingo, Irving and Does 101-125’s wrongful conduct,
   13
   14   Plaintiff Marites de Guzman suffered a loss of consortium due to Eddy Soriano’s
   15   injuries.
   16
                                         NINTH CAUSE OF ACTION
   17
   18           (Violation of 42 U.S.C. 1983 Brought by Plaintiff Marites de Guzman
   19
                         Against County of Riverside, and Does 51-100)
   20
   21          105. Plaintiff Marites de Guzman realleges and incorporates by reference
   22
        paragraphs 1 - 104 of this complaint.
   23
   24
               106. Plaintiff Marites de Guzman had a liberty interest in her

   25   companionship and familial/marital relationship with her husband, Plaintiff Eddy
   26
        Soriano, such that no state actor’s interference with her liberty interest may occur
   27
   28   without due process of law.
                                                           35
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    1         107. Defendants County, and Does 51-100 deprived Plaintiff Marites de
    2
        Guzman of her liberty interest in the companionship of her husband by the
    3
    4   following acts:
    5
                    a. causing and permitting the RPDC to be overcrowded which
    6
    7
                           contributed to causing inmate on inmate violence.

    8               b. requiring violent and/or mentally unstable inmates to be housed in
    9
                           the same cell as other inmates.
   10
   11               c. failing to assign sufficient Sheriff’s deputies to the RPDC in order
   12
                           to provide adequate monitoring and supervision of the inmates.
   13
   14               d. failing to properly train the Sheriff’s deputies assigned to the
   15                      RPDC such that the deputies did not have sufficient knowledge or
   16
                           skills to adequately monitor and supervise the inmates.
   17
   18               e. failing to provide jail buildings with functioning alarm
   19
                           components in the audio/intercom systems so that Sheriff’s
   20
   21                      deputies could respond promptly and communicate with inmates
   22
                           that needed assistance.
   23
   24
                    f. failing to properly use the video surveillance systems that were

   25                      available to them for supervising the cells while on duty at RPDC.
   26
                    g. ignoring video surveillance systems that were available to them
   27
   28                      for supervising cells while on duty at RPDC.
                                                              36
                          PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1                h. failing to follow standard operating procedures regarding
    2
                        performing physical visual inspections of the cells at RPDC; and
    3
    4                i. failing to perform correction officer job duties in monitoring the
    5
                        inmates, supervising the inmates, and inspecting and maintaining
    6
    7
                        the inmate audio and visual monitoring systems.

    8         108.   In doing the acts complained of, County and Does 51-100, acted
    9
        under color of State law with deliberate indifference to deprive Plaintiff Marites
   10
   11   de Guzman of certain constitutionally protected rights, including, but not limited
   12
        to, the right not to be deprived of liberty without due process of law, as guaranteed
   13
   14   by the Fifth and Fourteenth Amendments to the United States Constitution.
   15         109. In acting and failing to act as hereinabove alleged, Defendant County
   16
        and Does 51-100, and each of them, violated Plaintiff Marites de Guzman’s
   17
   18   liberty interest in the companionship of her husband such that Plaintiff Eddy
   19
        Soriano was severely injured by the brutal attack of his cellmate Jackson to the
   20
   21   point that Plaintiff Eddy Soriano is now in a permanent vegetative state and is not
   22
        expected to ever recover, nor will Plaintiff Marites de Guzman ever enjoy the
   23
   24
        companionship of her husband again.

   25         110. Defendant County and Does 51-100’s acts and omissions as set forth
   26
        above were a substantial factor in causing Plaintiff Marites de Guzman’s harm.
   27
   28         111. As a proximate result of Defendant County and Does 51-100’s
                                                           37
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    1   wrongful conduct, Plaintiff Marites de Guzman suffered injuries and damages in
    2
        an amount to be proven at trial.
    3
    4         112. In acting as hereinabove alleged, the conduct of Defendants 51-100
    5
        was performed knowingly, intentionally, maliciously, amounting to despicable
    6
    7
        conduct by reason of which Plaintiff Marites de Guzman is entitled to an award of

    8   punitive damages in a just and reasonable sum.
    9
                                         TENTH CAUSE OF ACTION
   10
   11                   (Claim for Battery Brought by Plaintiff Eddy Soriano
   12
                                           Against Defendant Jackson)
   13
   14         113. Plaintiff Eddy Soriano realleges and incorporates by reference
   15   paragraphs 1 - 112 of this complaint.
   16
              114. On February 18, 2015, Defendant Jackson touched Plaintiff Eddy
   17
   18   Soriano with the intent to harm or offend him by beating him severely in their
   19
        shared cell for a period of approximately 37 minutes. Defendant Jackson inflicted
   20
   21   skull fractures, facial fractures and severe brain injuries on Plaintiff Eddy Soriano
   22
        such that Plaintiff Eddy Soriano is now in a permanent vegetative state, requiring
   23
   24
        round-the-clock medical care and attention for the remainder of his life.

   25         115. At no time did Plaintiff Eddy Soriano consent to the touching by
   26
        Defendant Jackson.
   27
   28         116. As a direct and proximate result of Defendant Jackson’s actions in
                                                           38
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1   beating Plaintiff Eddy Soriano, Plaintiff was harmed and suffered damages and
    2
        severe injuries as alleged herein.
    3
    4         117. A reasonable person in Plaintiff Eddy Soriano’s situation would have
    5
        been offended by Defendant Jackson’s conduct in severely beating Plaintiff Eddy
    6
    7
        Soriano to the point where he is now in a permanent vegetative state for the

    8   remainder of his life.
    9
                                                         PRAYER
   10
   11         1.     WHEREFORE, Plaintiffs pray for judgment against defendants, and
   12
        each of them, jointly and severally, as follows:
   13
   14                a. For economic damages according to proof;
   15                b. For non-economic damages according to proof;
   16
                     c. Punitive damages against each of the individual defendants (Sniff,
   17
   18                   Di Yorio; Ibarra; Gutierrez; Busby, Jackson, Meadows, Adams,
   19
                        Elliot, Tompkins, Mozingo and Irving and Does 26-125)
   20
   21                   according to proof;
   22
                     d. Reasonable attorney fees and costs of suit pursuant to 42 U.S.C.
   23
   24
                        1988 where appropriate;

   25                e. Prejudgment interest;
   26
                     f. Costs of suit incurred herein and further relief as the Court deems
   27
   28                   just and proper.
                                                           39
                       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES, VIOLATIONS OF CIVIL RIGHTS

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    1                              DEMAND FOR JURY TRIAL
    2
             Plaintiffs respectfully demand that the present matter be set for a jury trial.
    3
    4   Dated: April 15, 2016                \s\_________________________
                                             Robert Trujillo, Esq.
    5
                                             Attorney for Plaintiffs, Eddy Soriano by and
    6                                        through his Conservator, Sherly Tolentino and
    7
                                             Marites De Guzman

    8   Dated: April 15, 2016                \s\_________________________
    9                                        Melody Trujillo, Esq.
                                             Attorney for Plaintiffs, Eddy Soriano by and
   10
                                             through his Conservator, Sherly Tolentino and
   11                                        Marites De Guzman
   12
        Dated: April 15, 2016                \s\_________________________
   13                                        Suzanne Skolnick, Esq.
   14                                        Attorney for Plaintiffs, Eddy Soriano by and
                                             through his Conservator, Sherly Tolentino and
   15                                        Marites De Guzman
   16
        Dated: April 15, 2016                \s\_________________________
   17
                                             Lewis Khashan, Esq.
   18                                        Attorney for Plaintiffs, Eddy Soriano by and
   19                                        through his Conservator, Sherly Tolentino and
                                             Marites De Guzman
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                          40
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